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 4
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 5
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES                         )            Case No. 2:03-cr-00371-MCE
10                                         )
                 Plaintiff,                )
11                                         )            STIPULATION AND
           v.                              )            ORDER RESETTING THE
12                                         )            STATUS CONFERENCE
     JONATHAN BLACKMAN,                    )
13   SHAWN CONLEY,                         )
     DELESHIA GILBERT,                     )
14   ERIC NEWBORN, AND                     )
     PETRA FUNTILA,                        )
15                                         )
                 Defendants.               )
16   _____________________________________ )
17
18         Defendant Jonathan Blackman, by and through counsel Michael Hansen, and defendant
19 Shawn Conley, by and through counsel C. Emmett Mahle, and defendant Deleshia Gilbert, by
20 and through counsel Kresta Daly, and defendant Eric Newborn, by and through counsel William
21 Bonham, and defendant Petra Funtila, by and through counsel Krista Hart, and the United States
22 (government) by and through counsel Assistant U.S. Attorney William Wong all stipulate and
23 agree the status conference currently set for March 6, 2008, should be reset to April 17, 2008.
24         All parties are currently in negotiations with the government in an effort to resolve the
25 case, additional time is necessary to complete the negotiations process. Additionally, some of the
26 defendants are housed in Nevada City, an hour long drive from Sacramento, it is difficult to
27 arrange time to make the drive to discuss potential resolutions.
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 1 For these reasons, the ends of justice are best served by resetting the change of plea hearing
 2 currently set for March 6, 2008, to April 17, 2008.
 3           The parties further stipulate and agree the time from March 6, 2008, up to and including
 4 April 17, 2008, should be excluded in computing the time within which the trial of the above
 5 criminal prosecution must commence for purposes of the Speedy Trial Act. The parties stipulate
 6 that the ends of justice are served by the Court excluding such time, so that counsel for the
 7 government and the defendant may have reasonable time necessary for effective preparation,
 8 taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code
 9 T4).
10 DATED: March 6, 2008                                   /s/ Krista Hart
                                                          Attorney for Petra Funtila
11
12 DATED: March 6, 2008                                   /s/ Michael Hansen
                                                          Attorney for Jonathan Blackman
13
14 DATED: March 6, 2008                                   /s/ Kresta Daly
                                                          Attorney for Deleshia Gilbert
15
16 DATED: March 6, 2008                                   /s/ William Bonham
                                                          Attorney for Eric Newborn
17
18 DATED: March 6, 2008                                   /s/ C. Emmett Mahle
                                                          Attorney for Shawn Conley
19
20 DATED: March 6, 2008                                   McGREGOR SCOTT
                                                          United States Attorney
21
                                                      /s/ William Wong
22                                                    Assistant U.S. Attorney
                                                 ORDER
23
     It is so ordered.
24
25 Dated: March 6, 2008
26                                                ________________________________
                                                  MORRISON C. ENGLAND, JR.
27
                                                  UNITED STATES DISTRICT JUDGE
28


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